1                                                                       Honorable Christopher M. Alston
                                                                               April 30, 2021; 9:30 a.m.
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                      IN THE UNITED STATES BANKRUPTCY COURT FOR THE
9                       WESTERN DISTRICT OF WASHINGTON AT SEATTLE

10   In re:                                             )   Chapter 7
                                                        )   Bankruptcy No. 20-13149
11   ANN PAXTON EL-MOSLIMANY,                           )
                                                        )   DECLARATION OF NANCY L. JAMES
12                                                      )   IN SUPPORT OF TRUSTEE’S MOTION
                     Debtor(s).                         )   FOR AN ORDER APPROVING
13                                                      )   COMPROMISE AND SETTLEMENT

14            The undersigned makes the following statement under penalty of perjury:

15            1.     I am over 18 years of age, am competent to testify to the statements herein and make

16   the statements herein based on facts personally known to me.

17            2.     I am the Chapter 7 bankruptcy trustee in the above-captioned matter.

18            3.     Since the filing of the petition, Ann Paxton El-Moslimany has passed away. I have

19   been provided with a copy of the death certificate. The administration of the estate is proceeding

20   pursuant to Fed. R. Bank. P. 1016.

21            4.     For the reasons stated in the Trustee’s Motion for an Order Approving Compromise

22   and Settlement, I have concluded that the sale of the real property of the estate located at 2655 S.W.

23   151st Place, Burien, Washington 98166 (“the Property”) is in the best interest of the estate, as is the

24   proposed agreement with Hayat Sindi (“Sindi”). The Property is tied up in litigation between the

25   trustee for the Samia El-Moslimany estate and Aziza Al-Yousef (“Al-Yousef”). The Ann El-

     Moslimany estate will likely become involved in that litigation. The litigation could take months

     DECLARATION OF NANCY L. JAMES IN
     SUPPORT OF TRUSTEE’S MOTION FOR                                         THE LIVESEY LAW FIRM
     AN ORDER APPROVING COMPROMISE                                           600 Stewart Street, Suite 1908
                                                                             Seattle, WA 98101
     AND SETTLEMENT - 210330fDec Page 1                                      (206) 441-0826
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1    to conclude. Based on testimony at the creditors’ meeting, it is my understanding that no mortgage

2    payments have been made for two years. I further understand that the balance of the Washington

3    Federal Savings deed of trust is $410,000 and the disputed deed of trust of Al-Yousef is $446,000.

4    By the time the litigation is concluded the Property could be lost to foreclosure. A sale at this point

5    would ensure the two debtors their homestead exemptions while providing the estate with funds to

6    pursue liquidation of the assets. A copy of the written agreement with Sindi is attached hereto.

7           DATED this 9th day of April, 2021.

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9                                                           /S/ Nancy L. James

10                                                  Nancy L. James

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     DECLARATION OF NANCY L. JAMES IN
     SUPPORT OF TRUSTEE’S MOTION FOR                                         THE LIVESEY LAW FIRM
     AN ORDER APPROVING COMPROMISE                                           600 Stewart Street, Suite 1908
                                                                             Seattle, WA 98101
     AND SETTLEMENT - 210330fDec Page 2                                      (206) 441-0826
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                      AGREEMENT TO MARKET REAL PROPERTY




       THIS AGREEMENT (“Agreement”) is made effective the 30th day of April, 2021, by and

between Ronald G. Brown (“Trustee Brown”), in his capacity as Chapter 7 bankruptcy trustee for

Samia El-Moslimany, Case No. 18-14820, filed in the Western District of Washington at Seattle;

Nancy L. James (“Trustee James”), in her capacity as Chapter 7 bankruptcy trustee for Ann Paxton

El-Moslimany, Case No. 20-13149, filed in the Western District of Washington at Seattle; and

creditor Hayat Sindi (“Creditor Sindi”). Creditor Sindi and the Trustees are sometimes referred to

herein as “Party” or “Parties.”

                                             RECITALS

       A.      Samia El-Moslimany filed a Chapter bankruptcy petition on December 20, 2018, and

Trustee Brown was appointed the Chapter 7 trustee.

       B.      Included in the property of the Samia El-Moslimany bankruptcy estate is a 50 percent

interest in the real property located at 2655 S.W. 151st Place, Burien, Washington 98166 (“the

Property”).

       C.      Ann Paxton El-Moslimany filed a Chapter 7 bankruptcy petition on December 29,

2020, and Trustee James was appointed the Chapter 7 trustee.

       D.      Included in the property of the Ann Paxton El-Moslimany bankruptcy estate is the

other 50 percent interest in the Property.


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       E.      The interests of both bankruptcy estates are encumbered by a deed of trust in favor

of Washington Federal Savings with an approximate balance of $410,000.

       F.      Next in time is a deed of trust in the face amount of $346,666 in favor of Aziza M.

Yousef (“Yousef”) encumbering the interests of both estates.

       G.      Trustee Brown has filed Adversary No. 19-01116 against Yousef to set aside the deed

of trust as, among other theories, a fraudulent conveyance. The lawsuit seeks to preserve the

avoided Yousef deed of trust for the benefit of Trustee Brown’s estate.

       H.      Trustee James has the same cause of action.

       I.      Creditor Sindi has a subordinate judgment lien which encumbers the interest of both

bankruptcy estates. Creditor Sindi has a judgment lien in the amount of approximately $1,550,298

against the Brown Trustee’s interest in the Property. Creditor Sindi has a judgment lien in the

amount of approximately $354,000 against the James Trustee’s interest in the Property. Creditor

Sindi is the largest unsecured creditor of the estates.

                                          AGREEMENT

       NOW, THEREFORE, in consideration of the mutual covenants set forth in this Agreement,

and for other good and valuable consideration, the receipt and adequacy of which is hereby

acknowledged, the Parties covenant and agree as follows:

       1.      The foregoing recitals are true and correct and are incorporated herein by this

reference.

       2.      This Agreement is subject to approval by the Bankruptcy Court in Case No. 18-14820

and Case No. 20-13149.




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         3.     The Trustees shall employ a real estate agent to market the Property. The sale of the

Property will be subject to approval by the Bankruptcy Court in both cases.

         4.     It is anticipated that the sale proceeds shall be distributed as follows: First, those

expenses normally incurred by a party selling real property including, but not limited to, realtor

commissions, escrow fees, outstanding property taxes and any charges typically paid by the seller

of real property in the Western District of Washington.

         5.     The next funds will be paid to Washington Federal Savings on its secured deed of

trust.

         6.     The next funds, an amount sufficient to satisfy the Yousef obligation, will be retained

by the Trustees pending the outcome of the adversary proceeding against Yousef.

         7.     Next, the statutory homestead of $125,000 will be paid each to Samia El-Moslimany

and Ann Paxton Moslimany upon further order of the court.

         8.     The next creditor scheduled to receive funds will be Creditor Sindi on her two

judgment liens. The remaining funds are expected to be less than the amount needed to satisfy

Creditor Sindi’s judgment.

         9.     The Parties have agreed that, upon the successful closing of the sale of the Property,

the estates will receive 50 percent of the remaining sale proceeds after the deductions described in

paragraphs 4 though 7 above. The distribution of those proceeds between the two estates will be

subject to further order of the Court. The remaining sale proceeds will be paid to Creditor Sindi in

partial satisfaction of her claims.




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       10.     Each Party executing this Agreement represents that it is authorized to do so. Each

person executing this Agreement on behalf of an entity represents that he or she is authorized to

execute this Agreement on behalf of said entity.

       11.     The Parties have read this Agreement, have had the benefit of counsel and freely and

voluntarily enter into this Agreement.

       12.     This Agreement may be executed in several counterparts and, once executed, shall

constitute one agreement binding all Parties, notwithstanding that all Parties to this Agreement are

not signatory to the original and same counterpart.

       13.     This Agreement shall be construed and enforced in accordance with the laws of the

State of Washington. Jurisdiction and exclusive venue shall be in the United States Bankruptcy

Court for the Western District of Washington.

       14.     Each Party to this Agreement hereby agrees to take any and all action necessary

where appropriate to execute and discharge its responsibilities and obligations created pursuant to

the provisions of this Agreement and to further effectuate and carry out the intents and purposes of

this Agreement and the transaction contemplated hereby.

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       IN WITNESS WHEREOF, the Parties hereto have executed this Agreement as of the date

first above written.

       DATED this                 day of April, 2021.




                                         Ronald G. Brown, Bankruptcy Trustee for
                                         Samia El-Moslimany, Case No. 18-14820

       DATED this                 day of April, 2021.




                                         Nancy L. James, Bankruptcy Trustee for
                                         Ann Paxton El-Moslimany, Case No. 20-13149

       DATED this                 day of April, 2021.




                                         Hayat Sindi, Creditor




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